        CASE 0:22-mj-00768-JTH Doc. 4 Filed 09/16/22 Page 1 of 1




                UNITED STATES DISTRICT COURT
                   DISTRICT OF MINNESOTA
 UNITED STATES OF AMERICA,                )    Case No. 22mj768 (JTH)
                                          )
                          Plaintiff,      )
       v.                                 )    NOTICE OF APPEARANCE
                                          )
 SALVADOR BUCIO,                          )
                                          )
                        Defendant.        )



      Pursuant to the Court’s order appointing counsel, the undersigned attorney

hereby notifies the Court and counsel that Sarah R. Weinman shall appear as

appointed counsel of record for the above named defendant in this case.



Dated: September 16, 2022                     s/Sarah R. Weinman
                                              SARAH R. WEINMAN
                                              Attorney ID No. 0401624
                                              Attorney for Defendant
                                              Office of the Federal Defender
                                              107 U.S. Courthouse
                                              300 South Fourth Street
                                              Minneapolis, MN 55415
